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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     MICHAEL T. McLAUGHLIN,                                Case No. 2:21-cv-00002-RFB-BNW
4                                             Plaintiff                    ORDER
5            v.
6     NDOC INFIRMARY, et al.,
7                                         Defendants
8
9    I.     DISCUSSION

10          On January 6, 2021, this Court ordered Plaintiff to file an application to proceed in

11   forma pauperis or pay the full $402 filing fee to initiate this matter within thirty days from

12   the date of the order (ECF No. 3).

13          Upon further review of Plaintiff’s filing at ECF No. 1-1, the Court notes that Plaintiff

14   did not file a complaint. Instead, Plaintiff submitted a motion for temporary restraining

15   order at ECF No. 1-1.

16          Under Federal Rule of Civil Procedure 3, “[a] civil action is commenced by filing a

17   complaint with the court.” Fed. R. Civ. P. 3.        As such, the Court grants Plaintiff until

18   February 5, 2021 to submit a complaint to this Court.

19          If Plaintiff is unable to file a complaint on or before February 5, 2021, this case will

20   be subject to dismissal without prejudice for Plaintiff to file a new case with the Court

21   when Plaintiff is able to file a complaint. A dismissal without prejudice means Plaintiff

22   does not give up the right to refile the case with the Court, under a new case number,

23   when Plaintiff is able to file a complaint.

24   II.    CONCLUSION

25          For the foregoing reasons, IT IS ORDERED that Plaintiff will submit a complaint to

26   this Court on or before February 5, 2021.

27          IT IS FURTHER ORDERED that the Clerk of the Court will send to Plaintiff the

28   approved form for filing a 42 U.S.C. § 1983 complaint and instructions for the same. The
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1    Clerk of the Court will also send Plaintiff a copy of his motion for temporary restraining
2    order at ECF No. 1-1.
3          IT IS FURTHER ORDERED that, if Plaintiff does not file a complaint on or before
4    February 5, 2021, this case will be subject to dismissal without prejudice for Plaintiff to
5    refile the case with the Court, under a new case number, when Plaintiff is able to file a
6    complaint.
7          DATED: January 11, 2021.
8
9                                             BRENDA WEKSLER
                                              UNITED STATES MAGISTRATE JUDGE
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